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EXHIBIT A
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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY
AVERAGE WHOLESALE PRICE :
LITIGATION : MDLNO. 1456
: CIVIL ACTION: 01-CV-12257-PBS

THIS DOCUMENT RELATES TO: : Hon. Patti B. Saris
ALL ACTIONS

DECLARATION OF SHELDON L. POLLOCK IN SUPPORT OF
APPLICATION FOR ADMISSION PRO HAC VICE

Sheldon L. Pollock, an associate with the firm of Davis Polk & Wardwell LLP,
450 Lexington Avenue, New York, New York 10017, hereby declares:

Ay J am a member in good standing of the bars of the State of New York and
the State of Connecticut.

2. I have been admitted to practice in the U.S. District Courts for the
Southern and Eastern Districts of New York, and the U.S. Courts of Appeals for the
Second and DC Circuits.

By | am a member in good standing in the courts listed above.

4. I have not been suspended or disbarred in any jurisdiction and have never
been the subject of a professional disciplinary proceeding.

3: Attached hereto as Exhibit B is a true and correct copy of my certificate of
good standing from the State of New York.

6. | am familiar with the Local Rules of the United States District Court for

the District of Massachusetts.
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I declare under penalty of perjury that the foregoing is true and correct.

ae Tih. w. OMA __

Sheldon L. Pollock

Dated: March 2, 2010

